In the middle of a bright and sunny day in August, Herman P. Gaertner, who will be referred to as defendant, was driving his automobile south on a residential street in Akron, Ohio, known as Portage Path, which street was 28 feet wide between curbs, and paved with brick, and was slightly down-grade in the southerly direction in which defendant was driving.
On his right, close to the curb on the west side of the street, there were two cars parked lengthwise, either in front of or just northerly of the residence in which Harry Michalsky, who will hereinafter be referred to as plaintiff, lived; and directly across the street from such residence was a school playground, upon which were some small children and a man who was taking moving pictures, but there was at the time no traffic upon such street.
As defendant approached the vicinity, plaintiff, a lad nine years of age, started across the street, going from his residence in an easterly and slightly southerly direction towards the people on the playground, and, after the lad had passed the center of the street, he was struck by the automobile being driven by the defendant, and was severely injured, his skull being fractured and he rendered unconscious.
In the amended petition filed by him plaintiff charged the defendant with negligence in failing to warn him of the approach of his automobile by sounding his horn or otherwise, with driving at a rate of speed which was excessive and greater than reasonable and proper under the circumstances, with failing to maintain a proper lookout, with failing to have his automobile under proper control, with failing to *Page 343 
change the course of his automobile so as to avoid striking plaintiff, with driving his automobile on the left-hand side of the street, and with violating certain laws and ordinances.
The answer of the defendant alleged that he was driving his automobile in a lawful manner and at a reasonable rate of speed, that plaintiff suddenly "darted into said street in front of said automobiles parked as aforesaid and directly into the path of defendant's car," and that the defendant, by applying his brakes and by the exercise of due care, was unable to avoid coming in contact with plaintiff, and, further, that the "accident was caused solely without any carelessness or negligence" of the defendant and "wholly by reason of the carelessness and negligence of the plaintiff in darting into and endeavoring to cross said street directly in the path of defendant's car * * * and without looking in either direction before crossing said street, and without exercising any care whatsoever for his own safety."
The defendant also charged that if it should be found that he was negligent, then the carelessness and negligence of the plaintiff in darting out into the street, without paying any attention to the condition of traffic thereon, and without looking in either direction before entering the street, was a direct and proximate cause of the collision, and, but for the same, such collision would not have occurred.
The trial resulted in a verdict and judgment in favor of the defendant.
The record discloses that the plaintiff, at the time and before the accident, was sickly, that he was behind in his school work, that he was slow mentally, and also in his physical movements, and that he was nine years of age and rather small for a boy of his age.
The evidence, as shown by the record, is such as to fully justify the conclusion that a part of the defendant's car was on the left, or east, side of the center of *Page 344 
the street, and that plaintiff was struck just as he was passing the left end of defendant's bumper, and that plaintiff's body came to rest within a few feet of the east curb of the street, and that no horn was sounded by the defendant; but there was a conflict in the evidence as to the exact location of the two parked cars and as to how near to them the plaintiff started to cross the street, and as to the speed at which the automobile was being driven by the defendant, and as to whether the plaintiff ran or walked while attempting to cross the street, and, further, as to just how far past the center of the street plaintiff was at the time he was struck.
Whether the defendant, by the exercise of ordinary care, should have seen plaintiff and avoided striking him, was an issue as to which reasonable minds might reasonably have reached different conclusions; and whether plaintiff's conduct constituted negligence which proximately caused or contributed to cause his injuries was an issue as to which reasonable minds might reasonably have reached different conclusions.
To induce the jury to decide both of said issues in his favor the defendant, by special requests, persuaded the court to charge the jury before argument as follows:
"VI. You are instructed that by the law of the state of Ohio, the plaintiff was required to look in both directions, that is, to his right and to his left, before stepping into or upon Portage Path, and if the plaintiff failed to do so, he was negligent, and if such negligence directly and proximately caused or contributed in any degree to said collision, and his damage, then he cannot recover and your verdict must be for the defendant."
"VIII. It is the law that the defendant, driving south on Portage Path, on August 28, 1932, had the right to assume that no child would run into and attempt to cross Portage Path except in the exercise of *Page 345 
that care which an ordinary prudent child of the same capacity as the plaintiff to appreciate and avoid danger would use in the same situation, and if the plaintiff, without using such care, ran into said street, then he was negligent, and if such negligence directly or proximately caused or contributed in any degree to said collision, then plaintiff cannot recover and your verdict must be for the defendant."
It was error to give said request No. VI, because a nine-year-old child is not chargeable, as a matter of law, with the same consequences as to negligence for the violation of a statute as an adult is; and, second, the direct evidence was that he obeyed the law, and there was no direct evidence that he did not, and such inference of failure to look as there was would not justify the giving of such charge, even if it could ever be proper to charge that a nine-year-old child was negligent as a matter of law because he violated a statute.
Such error was not cured by what was said on the subject in the general charge of the court.
The negligence as a matter of law which arises from a violation of a statute cannot properly be made to depend upon whether such statute is usually obeyed or violated, or upon whether the violator did or did not intend to violate the statute, and therefore the error in charging, before argument, that a small child who violates a statute is negligent as a matter of law, is not cured by qualifying such charge in the general charge by saying that if careful and prudent persons of the same age, education and experience as such child did not customarily obey and observe the statute then its violation would not constitute negligence as a matter of law.
It was misleading to give request No. VIII, because to say that the defendant had the "right to assume that no child would run into and attempt to cross" the street without exercising the care of an ordinary, prudent *Page 346 
child of plaintiff's age, is to plainly convey the idea that defendant could drive along such street without taking any care or precaution not to injure a child who should go upon the street without using due care for a child of his age; and it was erroneous in that it plainly told the jury that the defendant, while driving along the street, need not recognize and anticipate the obvious fact that children are very liable to enter streets without exercising any care whatsoever.
The law made it the duty of the defendant, in driving along such street, to use such care as persons of ordinary care and prudence usually exercise under the same or similar circumstances, and it was the province of the jury to determine whether, in driving along a street, persons of ordinary care and prudence usually just assume that no child will enter the street without using any care, or whether they anticipate that such a thing might happen and drive accordingly.
By giving request No. VIII the judge decided that question as a matter of law, and thereby usurped the functions of the jury.
Such a charge was doubly prejudicial, because it followed so closely the giving of request No. VI, wherein the jury was told that this nine-year-old child was negligent as a matter of law if he entered the street without first looking to his right and to his left.
Together such charges constituted error, both as to the issue of the negligence of the defendant and as to the issue of the contributory negligence of the plaintiff, and the two-issue rule has no application.
"The two-issue rule may not be invoked to render nonprejudicial an error of the trial court in the submission to the jury of one issue, when, in the submission of another issue which might be the basis of the verdict, there was error, whether technical or otherwise, which, alone or in connection with the error as to the first issue, might reasonably have influenced the *Page 347 
jury in returning the verdict against the complaining party."Thomas v. Heer, 17 Ohio Law Abs., 201.
We are of the opinion that such errors were not cured by what the judge said in the general charge, and we think that such a conclusion is fully justified by a consideration of the evidence in the case, all of which, except the medical testimony, we have carefully read and considered.
As to defendant's special request No. II, which was given, wherein the court told the jury that "there is but one just conclusion and verdict for the jury to arrive at and return in this case," etc., it was not error for the court to give such charge. Thompson, Admx., v. Goodyear Tire  Rubber Co., 13 Ohio Law Abs., 615.
But it would not have been error for the court to have refused it. The request contained simply an abstract statement which might be applicable in any case, and it did not contain a proposition of law pertinent to any particular issue of the case within the meaning of Section 11420-1, General Code, and the giving or refusing to give such an instruction is a matter of discretion with the trial court. Pletcher v. Bodle, Admr.,
13 Ohio Law Abs., 708.
See also Karras v. Mosley, 16 Ohio Law Abs., 116.
We are also of the opinion that defendant's special request No. III does not, strictly speaking, relate to the law of the case, but is a rule prescribed for the conduct and deliberations of the jury, irrespective of any particular issues being tried, and is therefore subject to the same observations as have been made in reference to defendant's special request No. II; and it seems to us that it was never intended that Section 11420-1, General Code, should apply to such general cautionary instructions, thus making it reversible error to refuse to give such instructions before argument.
While defendant's special request No. VII is a correct *Page 348 
statement of the law, the court would have been justified in refusing to give the same, because the subject of the same had been sufficiently covered in defendant's special request No. V, already given.
Where separate special requests are drawn so as to embrace separate parts of conduct, the whole of which is claimed to constitute negligence or contributory negligence, the giving of all of them may, by repetition, so emphasize such conduct as to be unfair; and where the court has given a request which applies to such conduct as a whole, it is not error to refuse to give such other separate requests.
The court would also have been justified in refusing to give defendant's special request No. XI, for the reason that nine-tenths of the same was covered by defendant's special request No. I, which had been given, and it was unfair to plaintiff to repeat the nine-tenths contained in request No. I, merely in order to charge on the one-tenth new matter contained in request No. XI.
For error in giving defendant's special requests Nos. VI and VIII the judgment is reversed and the cause remanded.
Judgment reversed and cause remanded.
FUNK, P.J., and STEVENS, J., concur. *Page 349 